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by
ABBY ROBINSON & ASSOCIATE
Law Firm PLLC

NOTICE OF CLAIMS/INTENT TO SUE

DATE OF NOTICE: DECEMBER 19, 2023

DEFENDANTS: THE CITY OF JACKSON, Mayor Chokwe Antar
Lumumba, in his personal and professional [former] Chief of Police James
Davis in his personal and professional capacity, [current] Chief of Police
Joseph Wade in his personal and professional capacity.

Address:

The City of Jackson

219 SOUTH PRESIDENT STREET
JACKSON, MISSISSIPPI 39201

RE: Pursuit to Miss. Code Ann. 11—46-11(1) states that a party must file a
notice of claim with the chief executive officer of a governmental entity 90

days before filing a lawsuit.

Re: Our Client[s]}: TERRANCE TILLER

VIOLATIONS KNOWN AT THE TIME OF THIS NOTICE: Vidlaiion of
ADA Rights for people with Disabilities, Emotional Distress, Negligent Firing
pursuant to ADA Rights, Bad Faith, Misrepresentation in dealings, Misuse of
governmental authority. . =<
EXHIBIT pz-Zed BE DAC

Abby Robinson Dp ya 1 Wald
Attorney forPlaintiff Y — a

Abby Robinson ESQ.
227 E. Pearl St. Jackson, MS 39201 | 601-321-9343 or Fax 487-6326 | Arobinsonlawfirm@yahoo.com
or abby @askabbylaw.org

